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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION



 UNITED STATES OF AMERICA,

               Plaintiff,                                 Hon. Janet T. Neff

 v.                                                       Case No. 1:15-cr-00185-JTN-2

 FLETCHER LEE SALAZAR,

            Defendant.
 _________________________________/


                                                 ORDER


       Defendant appeared before me on October 16, 2015, with appointed counsel for a detention

hearing under the Bail Reform Act of 1984, 18 U.S.C. § 3142(f). Defendant has been held in the

custody of the Attorney General since February of 2015, as per order by this Court (Case 1:15-CR-

0004-JTN, Dk. No. 11).

       Accordingly, IT IS ORDERED that defendant is committed to the continued custody of the

Attorney General pending trial in this matter.

       DONE AND ORDERED this 16th day of October, 2015.




                                                     /s/ Phillip J. Green
                                                    PHILLIP J. GREEN
                                                    United States Magistrate Judge
